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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X

IVAN ANTONYUK, COREY JOHNSON, ALFRED
TERRILLE, JOSEPH MANN, LESLIE LEMAN, and
LAWRENCE SLOANE,

                                   Plaintiffs,

                 -against-                                             Case No. 22 Civ. 986 (GTS) (CFH)

KATHLEEN HOCHUL, in her official capacity as
Governor of the State of New York, KEVIN P. BRUEN,                     DECLARATION OF JAMES M.
in his official capacity as Superintendent of the New                  THOMPSON
York State Police, Judge MATTHEW J. DORAN, in his
official capacity as Licensing-official of Onondaga
County, WILLIAM FITZPATRICK, in his official
capacity as Onondaga County District Attorney,
EUGENE CONWAY, in his official capacity as Sheriff
of Onondaga County, JOSEPH CECILE, in his official
capacity as Chief of Police of Syracuse, P. DAVID
SOARES, in his official capacity as District Attorney of
Albany county, GREGORY OAKES, in his official
capacity as District Attorney of Oswego County, DON
HILTON, in his official capacity as Sheriff of Oswego
 County, and JOSEPH STANZIONE, in his official
capacity as District Attorney of Greene County

                                    Defendants.
-------------------------------------------------------------------X


James M. Thompson hereby declares as follows, pursuant to 28 U.S.C. § 1746:

        1.       I am a member of the Bar of the State of New York and am admitted to practice in

this District. I serve as Special Counsel for Second Amendment Litigation in the office of Letitia

James, the Attorney General of the State of New York. With my co-counsel Michael McCartin

and Alexandria Twinem, I represent Defendants Kathy Hochul, in her official capacity as

Governor of New York, Kevin P. Bruen, in his official capacity as Superintendent of the New

York State Police, and Matthew Doran, in his official capacity as Judge of the Onondaga County
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Court and Licensing Official for Onondaga County (collectively, the “State Defendants”), in this

action.

          2.   I submit this Declaration in support of the State Defendants’ opposition to the

Plaintiffs’ motion for a preliminary injunction, ECF No. 6, for the limited purpose of putting

before the Court certain documents referenced in the accompanying memorandum of law.

          3.   Unless otherwise stated, the facts and circumstances set forth in this declaration

are based upon my own personal knowledge, review of documents and information in the legal

file relating to this action, research on online databases, and conversations with experts.

          4.   Attached as Exhibit 1 is an excerpt of the Laws and Liberties of Massachusetts,

1648, including certain orders of the Massachusetts General Court.

          5.   Attached as Exhibit 2 is an excerpt from the Statutes at Large of Pennsylvania

From 1682 to 1801, containing a 1763 act prohibiting the selling of guns to Native Americans.

          6.   Attached as Exhibit 3 is an excerpt from 1 William Waller Hening, The Statutes

at Large: Being a Collection of All the Laws of Virginia From the First Session of the

Legislature, in the Year 1619, containing a 1642 act prohibiting the selling of guns to Native

Americans.

          7.   Attached as Exhibit 4 is an excerpt from 7 William Waller Hening, The Statutes

at Large: Being a Collection of All the Laws of Virginia From the First Session of the

Legislature, in the Year 1619 (Richmond: Franklin Press, 1809), containing a 1756 “Act for

Disarming Papists, And Reputed Papists, Refusing To Take The Oaths To The Government.”

          8.   Attached as Exhibit 5 is an excerpt from the Records of Massachusetts, volume 1

(Nathaniel B. Shurtleff ed. 1853), containing a 1637 order disarming certain named followers of

a dissident preacher “insomuch as there is just cause of suspition that they . . . may, upon some
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revelation, make some suddaine irruption upon those that differ from them in judgment.”

       9.      Attached as Exhibit 6 is an excerpt from the Statutes of the Realm, volume 5

(1819), containing the Militia Act of 1662, which authorized royal officials to “search for and

seize all arms in the custody or possession of any person or persons whom the said Lieutenant or

two or more of their deputies shall judge dangerous to the peace of the Kingdom.”

       10.     Attached as Exhibit 7 is an excerpt from the 1775-76 edition of the Massachusetts

Acts & Laws, containing “An Act for the executing in the Colony of the Massachusetts-Bay, in

New England, one Resolve of the American Congress, dated March 14, 1776, recommending the

disarming such persons as are notoriously disaffected to the Cause of America, or who refuse to

associate to defend by Arms the United American Colonies, against the hostile Attempts of the

British Fleets and Armies, and for the restraining and punishing Person who are inimical to the

Rights and Liberties of the said United Colonies, and for directing the Proceedings therein.”

       11.     Attached as Exhibit 8 is an excerpt from the 1776-77 edition of the Laws Enacted

in the First Sitting of the First General Assembly of the Commonwealth of Pennsylvania,

including “An ACT, obliging the male white inhabitants of this state to give assurances of

allegiance to the same,” including a provision that persons refusing or neglecting to take the oath

“shall be disarmed by the lieutenant or sublieutenants of the city or counties respectively.”

       12.     Attached as Exhibit 9 is an excerpt from the 1777 Maryland Session Laws,

including “An ACT for the better security of the government.”

       13.     Attached as Exhibit 10 is an excerpt from the 1777 North Carolina Session Laws,

including “An Act to Amend An Act for Declaring What Crimes and Practices Against the State

Shall Be Treason, . . . and for Preventing the Dangers Which May Arise From Persons

Disaffected to the State.”
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       14.     Attached as Exhibit 11 is an excerpt from 9 William Waller Hening, The Statutes

at Large: Being a Collection of All the Laws of Virginia From the First Session of the

Legislature, in the Year 1619 (Richmond: Franklin Press, 1809), containing a 1777 “Act to

oblige the free male inhabitants of this state above a certain age to give assurance of Allegiance

to the same, and for other purposes.”

       15.     Attached as Exhibit 12 is an excerpt from the Journals of the Provincial Congress,

Provincial Convention, Committee of Safety, and Council of Safety of the State of New York

(1842), containing a March 27, 1776 order that “the committees of the several cities, counties,

manors, townships, precincts and districts in this Colony, forthwith to cause to be disarmed, all

persons within their respective districts who are known to be disaffected to the cause of

America.”

       16.     Attached as Exhibit 13 is an excerpt from Thomas Greenleaf, Laws of the State of

New York, Comprising the Constitution, and the Acts of the Legislature, since the Revolution,

from the First to the Fifteenth Session, Inclusive (1792), containing an April 4, 1786 “Act to

regulate the Militia.”

       17.     Attached as Exhibit 14 is an excerpt from the 1780 Session Laws of New York,

containing a March 11, 1780 “Act for regulating the militia of the State of New York.”

       18.     Attached as Exhibit 15 is an excerpt from the 1782 Session Laws of New York,

containing an April 4, 1782 “Act to regulate the militia.”

       19.     Attached as Exhibit 16 is an excerpt from the 1806 Session Laws of New Jersey,

containing a March 11, 1806 “Act for establishing and conducting the military force of New-

Jersey.”

       20.     Attached as Exhibit 17 is an excerpt from the 1822 Session Laws of Pennsylvania,
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containing an April 2, 1822 “Act for the Regulation of the Militia of this Commonwealth.”

       21.     Attached as Exhibit 18 is a copy of the federal “Act to punish the carrying or

selling of deadly or dangerous weapons within the District of Columbia, and for other purposes,”

Public Law 52-159, 27 Stat. 116.

       22.     Attached as Exhibit 19 is an excerpt from the Ordinances of the Mayor, Aldermen

and Commonalty of the City of New York, In Force January 1, 1881 (Elliot F. Shepard &

Ebenezer B. Shafer, eds.), including Article 27, concerning the “Carrying of Pistols.”

       23.     Attached as Exhibit 20 is an excerpt from the Proceedings of the Board of

Aldermen of the City of New York, detailing the January 7, 1878 enactment of the ordinance in

Exhibit 27.

       24.     Attached as Exhibit 21 is an excerpt from John Carpenter’s Liber Albus: The

White Book of the City Of London, showing medieval requirements “that no one, of whatever

condition he be, go armed in the said city or in the suburbs . . .”

       25.     Attached as Exhibit 22 is an excerpt from 1 William Hawkins, A Treatise of the

Pleas of the Crown (1716), discussing the limitations on the license to carry weapons in England.

       26.     Attached as Exhibit 23 is an excerpt from the 1880 Session Laws of Ohio,

containing “An act to define and suppress tramps.”

       27.     Attached as Exhibit 24 is an excerpt from the 1879 Session Laws of Tennessee,

containing “An Act to amend the Criminal Laws of this State upon the subject of carrying

concealed weapons, and amend Section 4759 of the Code.”

       28.     Attached as Exhibit 25 is an excerpt from the 1876 Session Laws of Wyoming,

containing “An Act to Prevent the Carrying of Fire Arms and Other Deadly Weapons.”

       29.     Attached as Exhibit 26 is an excerpt from the 1881 Session Laws of Arkansas,
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containing “An Act to Preserve the Public Peace and Prevent Crime.”

       30.     Attached as Exhibit 27 is an excerpt from the 1871 Session Laws of Texas,

containing “An Act to Regulate the Keeping and Bearing of Deadly Weapons.”

       31.     Attached as Exhibit 28 is a copy of an October 4, 1880 ordinance enacting a

system for pistol permits for “proper and law abiding person[s]” in the City of Brooklyn, as

reprinted in the October 26, 1880 edition of the Brooklyn Daily Eagle.

       32.     Attached as Exhibit 29 is an excerpt from the 1891 Session Laws of New York,

revising the charter of the city of Buffalo to provide for pistol permitting upon “the discretion of

the superintendent.”

       33.     Attached as Exhibit 30 is a copy of a July 18, 1892 ordinance enacting a system

of pistol permits for “proper and law abiding person[s]” in the city of Elmira, as reprinted in the

July 28, 1892 edition of the Elmira Gazette.

       34.     Attached as Exhibit 31 is a copy of an 1892 ordinance of the City of Syracuse

permitting the chief of police to issue one-year permits “in proper cases,” as reprinted in the

1894 edition of the Charter and Ordinances of the City of Syracuse, N.Y..

       35.     Attached as Exhibit 32 is a copy of a 1905 ordinance of the City of Troy, enacting

a system of pistol permits for “proper and lawabiding person[s],” as reprinted in the 1905 edition

of the Municipal Ordinances of the City of Troy.

       36.     Attached as Exhibit 33 is a copy of Penal Ordinance No. 35 of the City of

Lockport, as reprinted in the August, 1913 edition of the Revised Charter and Ordinances of the

City of Lockport.

       37.     Attached as Exhibit 34 is a copy of a 1905 “ordinance regulating the carrying of

loaded firearms in the City of Albany,” establishing a system of pistol permits issued by the
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Commissioner of Public safety “if satisfied that the applicant is a proper and law-abiding

person,” as reprinted in the 1910 edition of the Municipal Code of the City of Albany, N.Y..

       38.     Attached as Exhibit 35 is an excerpt from the 1780 Session Laws of New York,

containing a March 11, 1780 “Act for regulating the militia of the State of New York.”

       39.     Attached as Exhibit 36 is a statute of the City of Omaha, banning the carrying of

concealed weapons by anyone except for “well known and worthy citizens, or persons of good

repute,” but only if “going to or from their place of places of business,” as reprinted in the 1881

edition of the Compiled Ordinances of the City of Omaha.

       40.     Attached as Exhibit 37 is a copy of the first federal Militia Act, Public Law 2-33,

1 Stat. 271.

       41.     Attached as Exhibit 38 is an excerpt from the 1806 Session Laws of New Jersey,

containing a March 11, 1806 “Act for establishing and conducting the military force of New-

Jersey.”

       42.     Attached as Exhibit 39 is an excerpt from 12 William Waller Hening, The

Statutes at Large: Being a Collection of All the Laws of Virginia From the First Session of the

Legislature, in the Year 1619 (Richmond: Franklin Press, 1809), containing an October 17, 1785

“Act to amend and reduce into one act, the several laws for regulating and disciplining the

militia, and guarding against invasions and insurrections.”

       43.     Attached as Exhibit 40 is a copy of the Texas House of Representatives

Investigative Committee on the Robb Elementary Shooting’s Interim Report 2022, obtained from

the website of the Texas House of Representatives.

       44.     Attached as Exhibit 41 is an excerpt from the 1870 Session Laws of Texas,

containing “An Act Regulating the Right to Keep and Bear Arms.”
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         45.   Attached as Exhibit 42 is an excerpt from the 1869-70 Session Laws of

Tennessee, containing “An Act to Amend the Criminal laws of the State.”

         46.   Attached as Exhibit 43 is an excerpt from the 1870 Session Laws of Georgia,

containing “An Act to preserve the peace and harmony of the people of this State, and for other

purposes.”

         47.   Attached as Exhibit 44 is an excerpt from the 1883 Session Laws of Missouri,

containing an act concerning “Concealed Weapons.”

         48.   Attached as Exhibit 45 is an 1889 Idaho Law on “Persons Other than Officers

Carrying Certain Weapons,” as reprinted in the 1901 edition of the Penal Code of the State of

Idaho.

         49.   Attached as Exhibit 46 is an excerpt from the 1889 Session Laws of Arizona,

containing “An Act Defining and Punishing Certain Offenses Against the Public Peace.”

         50.   Attached as Exhibit 47 is an excerpt from the 1890 Statutes of Oklahoma,

containing articles on “Concealed Weapons.”

         51.   Attached as Exhibit 48 is an excerpt of the 1776 Delaware Constitution.

         52.   Attached as Exhibit 49 is an excerpt from the 1787 Session Laws of New York,

containing “An Act concerning the rights of the citizens of this State.”

         53.   Attached as Exhibit 50 is an excerpt from the 1873 Session Laws of Pennsylvania,

containing “An Act to prevent the carrying of deadly weapons within the city of Harrisburg.”

         54.   Attached as Exhibit 51 is an excerpt from the 1877 Session Laws of Virginia,

containing a statute prohibiting “carrying dangerous weapons at a place of worship or on

Sunday.”

         55.   Attached as Exhibit 52 is an excerpt from the 1878 Session Laws of Mississippi,
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containing “An Act to prevent the carrying of concealed weapons, and for other purposes.”

       56.     Attached as Exhibit 53 is an excerpt from the 1837 Massachusetts General Laws,

containing “An Act Concerning The Militia.”

       57.     Attached as Exhibit 54 is an excerpt from the 1837 Public Laws of the State of

Maine, concerning the militia.

       58.     Attached as Exhibit 55 is an excerpt from the 1843 Public Laws of Rhode Island,

containing “An Act To Regulate The Militia.”

       59.     Attached as Exhibit 56 is an excerpt from the 1786 Session Laws of Virginia,

containing “An Act forbidding and punishing Affrays.”

       60.     Attached as Exhibit 57 is an excerpt from the Fourth Annual Report of the Board

of Commissioners of the Central Park, dated January 1861.

       61.     Attached as Exhibit 58 is an excerpt from the First Annual Report of the

Commissioners of Fairmont Park, dated 1869.

       62.     Attached as Exhibit 59 is an excerpt from the 1888 Annual Reports of the City

Officers and City Boards of the City of Saint Paul, dated 1889.

       63.     Attached as Exhibit 60 is an excerpt from the 1895 Local Acts of the Legislature

of the State of Michigan, containing an act concerning “the charter of the city of Detroit, and

relating to parks, boulevards, and other public ground in said city . . .”

       64.     Attached as Exhibit 61 is an excerpt from the 1867 Session Laws of Kansas,

containing “An Act to prevent the carrying of Deadly Weapons.”

       65.     Attached as Exhibit 62 is an 1872 statute preventing intoxicated persons from

being armed, as reprinted in the 1889 Annotated Statutes of Wisconsin.

       66.     Attached as Exhibit 63 is an excerpt from 3 The Statutes at Large of Pennsylvania
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from 1682 to 1801 (James T. Mitchell, et al., eds.), containing an August 26, 1721 “Act to

prevent the killing of deer out of season, and against carrying of guns or hunting by persons not

qualified.”

       67.     Attached as Exhibit 64 is an excerpt from the 1715 Session Laws of Maryland,

containing an April, 1715 “Act for the speedy trial of criminals, and ascertaining their

punishment in the county courts when prosecuted there, and for payment of fees due from

criminal persons.”

       68.     Attached as Exhibit 65 is an excerpt from the Laws of New-York From The Year

1691, to 1773 inclusive (Hugh Gaine, ed. 1774), containing an act establishing a “[p]enalty for

entering with Fire-Arms into any inclosed land within this City or its Liberties.”

       69.     Attached as Exhibit 66 is an excerpt from the 1741 Session Laws of New Jersey,

containing an “Act to prevent the Killing of Deer out of Season, and against Carrying of Guns

and Hunting by Persons not Qualified,” dated 1722.

       70.     Attached as Exhibit 67 is an excerpt from the 1771 Session Laws of New Jersey,

containing a December 21, 1771 “Act for the Preservation of Deer and other Game, and to

prevent trespassing with Guns.”

       71.     Attached as Exhibit 68 is an excerpt from the 1865 Session Laws of Louisiana

(Extra Session), containing “An Act To prevent the carrying of fire-arms on premises or

plantations of any citizen, without the consent of the owner.”

       72.     Attached as Exhibit 69 is an excerpt from George Paschal, ed., 4 Digest of the

Laws of Texas Containing the Laws in Force, and the Repealed Laws on Which Rights Rest,

from 1754 to 1875, containing a November 6, 1866 “Act to Prohibit the Carrying of Firearms on

Premises or Plantations of any Citizen Without the Consent of the Owner.”
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         73.   Attached as Exhibit 70 is an excerpt from the 1893 Session Laws of Oregon,

containing a February 20, 1893 Act “To Prevent a Person from Trespassing upon any Enclosed

Premises or Lands not His Own Being Armed with a Gun, Pistol, or other Firearm, and to

Prevent Shooting upon or from the Public Highway.”

         74.   Attached as Exhibit 71 is an excerpt from The Laws of Maryland (Virgil Maxcy,

ed. 1811), containing a 1728 “Act to encourage the destroying of wolves, crows and squirrels.”

         75.   Attached as Exhibit 72 is an excerpt from the 1875 Session Laws of Tennessee,

containing “An Act for the preservation of game and birds.”

         76.   Attached as Exhibit 73 is an 1871 Illinois law on “Hunting on Inclosures of

Others.”

         77.   Attached as Exhibit 74 is an ordinance stating that “[a]ll persons are forbidden to

carry firearms . . . within any one of the public parks” in the City of Chicago, taken from an The

Municipal Code of Chicago (Egbert Jamieson and Francis Adams, eds, 1881).

         78.   Attached as Exhibit 75 is an ordinance forbidding anyone to “[c]arry or discharge

firearms” in Liberty Park, taken from an 1888 edition of The Revised Ordinances of Salt Lake

City.

         79.   Attached as Exhibit 76 is an ordinance forbidding anyone “[t]o carry firearms”

within Tower Grove Park in St. Louis, taken from David H. MacAdam, Tower Grove Park of the

City of St. Louis (1883).

         80.   Attached as Exhibit 77 is a Pittsburgh ordinance stating that “[n]o person shall be

allowed to carry firearms . . . within the limits of the parks or within one hundred yards thereof,”

taken from W.W. Thomson, ed., A Digest of the Acts of Assembly Relating to, and the General

Ordinances of the City of Pittsburgh From 1804 to Jan 1, 1897 (2d ed 1897).
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        81.     Attached as Exhibit 78 is an excerpt from the 1778 Session Laws of New Jersey,

containing “An ACT for the Regulating, Training and Arraying of the Militia.”

        82.     Attached as Exhibit 79 is an excerpt from the 1775-76 edition of the

Massachusetts Acts & Laws, containing “An Act for the forming and regulating the Militia

within the Colony of the Massachusetts-Bay, in New-England, and for repealing all the Laws

heretofore made for that Purpose.”

        83.     I declare under penalty of perjury that to the best of my knowledge the foregoing

is true and correct.




Dated: New York, NY
       October 13, 2022



                                                           James M. Thompson
